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                            IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


 CHRIS MARTIN,                                   )
                                                 )
               Plaintiff,                        )   CASE NO. 1:23-cv-02312
 v.                                              )
                                                 )
 CLEVELAND CITY COUNCIL, et al.,                 )   JUDGE CHARLES ESQUE FLEMING
                                                 )
              Defendants.                        )
                                                 )
                                                 )
                                                 )



      DEFENDANTS’ NOTICE THAT MOTION FOR TRO HAS BEEN RESOLVED


       Now come Defendants Cleveland City Council and Council President Blaine Griffin, and

notify this Court that the pending motion for temporary restraining order (Mot., ECF No. 8) has

been jointly resolved, and a stipulated entry is forthcoming. Defendants file this notice to reserve

its response to the motion for a preliminary injunction.

       Plaintiff Chris Martin (“Martin”) filed a complaint alleging, among other things, that a

policy adopted by the Cleveland City Council violated the First Amendment. (See Compl., ECF

No. 1). He then moved for injunctive relief, including a temporary restraining order. (Mot., ECF

No. 8). This Court ordered the Parties to meet and confer, and for Defendants to file an opposition,

if any, on or before today, January 3, 2024. (Non-Document Order dated December 21, 2023).

This Court also ordered a telephonic status conference for tomorrow, January 4, 2024.

       It appears the meet and confer successfully resolved the motion for a temporary restraining

order. (Mot., ECF No. 8). A stipulated entry will be in effect from January 8, 2024 until January


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22, 2024. This covers the next two City Council meetings, which are on January 8, 2024 and

January 22, 2024. The Parties are finalizing an agreed-upon entry to submit to this Court.

       Because the emergency motion has been resolved, the Parties are discussing a briefing

schedule for the request for a preliminary injunction. The next relevant City Council meeting is on

January 29, 2024. Defendants propose the following briefing schedule:

               •   January 16, 2024 – Defendants’ Opposition

               •   [January 22, 2024 – Council Meeting]

               •   January 23, 2024 – Martin’s Reply

               •   [January 29, 2024 – Council Meeting]

                                             Respectfully submitted,

                                             MARK D. GRIFFIN (0064141)
                                             Director of Law

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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing document was filed
electronically on the 3rd day of January, 2024. Notice of this filing will be sent to all parties by
operation of the Court’s electronic filing system. Parties may access this filing through the Court’s
system.



                                                      s/ J.R. Russell.
                                                      James R. Russell, Jr. (0075499)




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